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Fill in this information to identify your case:

 

United States Bankruptcy Court for fhe:

DlSTR|CT OF CONNECT|CUT

 

-Case number (irknawn) Chapter you are filing under:
n - Chapter 7
|:l Chapter 11
i:| Chapter 12

|:l Chapter 13 - I:I Che_ck if this an
amended H|ing

 

 

 

Of'ficiai Form 101
Voluntary Petition for individuals Filing for Bankrupt'cy 1211-z

 

The bankruptcy forms use you and Debtor1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a joint
case_and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separate|y, the form uses Debtor 1 and Debtor 2 to distinguish
between them. in joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The samel person must be Debtor 1 in
ali of the forms. ` '

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct information. if

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question. - -

Pa rt 1: identify Yourse|f

 

1. Your full name

Write the name that is on Wi||iam _ s

 

 

your government-issued First name : irst name
picture identification (for
example, your driver's B_

 

 

license cr passport). Midd|e name Midd[e name
Bring your picture
identification to your
meeting with the trustee.

McNamara, Jr. 7
Last name and Suffix (Sr., Jr., ll, lii) f - Last name and Suffix (Sr., Jr., il, |i|)

 

 

 

§

 

 

2. A|l other names you have _ '.!
used in the last 8 years ‘

include your married or
maiden names.

 

 

§

3. Only the last 4 digits of §
your Social Security .f
number or federal xxx_xx_5132 ':|` f
individual Taxpayer §
identification number z
(|TlN)

 

 

OEHcial Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 1-

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Debtor1 Wi||iam B_ McNamai-a, Jr_ ` Case number (irimowni

 

   

4. Any business names and
Empioyer identification
N'-'mber$ (E|N) yOl-l have - | have not used any business name or EiNs. |:i l have not used any business name or EiNs.
used in the last 8 years

 

 

include trade names and Business name(s)
doing business as names

 

 

EiNs ` EiNs

 

 

5. Where you live " if Debtor 2 lives at a different address:

332 Windermere Street
Fairfield, CT 06825

 

 

 

 

 

 

 

 

Number, Street, City, State & ZlP Code Num_ber, Street, City, State & ZlP Code
Fairfie|d
County County i
if your mailing address is different from the one f Debtor 2's mailing address is different from yours, fill it
above, fill it in here. Note that the court will send any n here. Note that the court will send any notices to this
notices to you at this mailing address _ mailing address
Number. P.O. Box, Street. City, State & ZlP Code _i Number, P.O. Box, Street, Cityl State & ZlP Code
6. Why you are choosing Check one.' = - Check one:
this district to file for -
bankruptcy l Over the last 150 days before filing this petition, 7 |:| Over the last 180 days before filing this petition, l
i have iived in this district iongerthan in any have lived in this district longer than in any other
other district _ district
l:l l have another reason. ` § l haV*-“: another reason
Expiain. (see 28 u_s_c_ § 1403.) 7 Explam- (See 28 U-S-C- § 1408-)

 

 

 

 

Officiai Form 101 Voluntary Petition for individuals Filing for Bankruptcy page'2__

Debtor 1

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William B. McNamara, Jr. Case number (ifkmwn)

Tel| the Court About Voui' Bankruptcy Case

 

Check one. (For a brief description of each, see Nofi‘ce Requireci‘ by 11 U.S.C. § 342(h) for individuals Filing for Bankrupfcy

 

 

 

 

 

 

 

7. The chapter of the
Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
choosing to f"ile under -
- Chapter 7`
i:| Chapter 11
l:l Chapter12
l:i Chapter 13
B. How you will pay the fee l l will pay the entire fee when l file my petition. Please check with the clerk’s ofhce in your local court for more details
about how you may pay. Typica||y, if you are paying the fee yourselfl you may pay with cash, cashier's check, or money
order. if your attorney is submitting your payment on your beha|f, your attorney may pay with a credit card or check with
a pre-printed addressl
|:| l need to pay the fee in installments l_f you choose this option, sign and attach the Appi'ication for individuals to Pay
The Filing Fee in installments (Officlal Form 103A).
l request that my fee be waived (You may request this option only if you are filing for Chapter 7. By lawl ajudge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). if you choose this option, you must nil out
the Application to Have the Chapter 7 Filing Fee Waived (Ofiicia| Form 103B) and file it with your petition.
9. Have you filed for - No
bankruptcy within the `
last 8 years? |:l ¥es.
District ` ' When Case number
District When ' Case number
District When. Case number
10. Are any bankruptcy - No
cases pending or being
filed by a spouse who is I:| Yes_
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Re|ationship to you
District When Case numberl if known
Debtor Re|aticnship to you
District When Case number, if known
11. Do you rent your . No_ Go to line 12.

residence?

|_”_| Yes_ Has your landlord obtained an eviction judgment against you'?
|_'_| No. Go to line 12_

|:| Yes_ Fi|| out initial StatementAbout an Eviction Juo‘gmenlAgainst Ycii.i (Form 101A) and file it as part of
this bankruptcy petition.

 

Officiai Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 3

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Debtor1 William B_ N|cNai-nara, Jr_ Case number (iri<nown)

 

Report About Any Businesses You OWn as a Sole Proprietor

12. Are you a sole proprietor
of any full- or part-time l No. Go to Part 4.
business?

|:| Yes_ Name and location of business

A sole proprietorship is a
business you operate as Name of business, if any
an individuall and is not a
separate legal entity such
as a corporation,
partnershlp, or LLC.

if you have more than one
sole proprietorship, use a '
separate sheet and attach
it to this petition. Check the appropriate box to describe your husiness.'

 

 

Numb_er, Street, City, State & ZlP Code

 

i"_`| Health Care Business (as defined in 11 U.S.C. § 101{27A))

i:| Single Asset Real Estate (as defined in 11 U.S.C. § 101(51\3))

|:| Stockbroker (as defined in 11 U.S.C. § 101(53/-\))

ij Cornmodity Broi<er (as dehned in 11 U.S.C. § 101(6))

|:] None of the above

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
Chapter 11 of the ' deadlines if you indicate that you are a small business debtorl you must attach your most recent balance sheet, statement of
Bankruptcy Code and are cperations, cash-flow statement and federal income tax return or if any of these documents do not existl follow the procedure
you a small business in 11 U.S.C. 1115(1)(5).
debtor?
- No. l am riot filing underChapter 11.

For a definition cf small
business debtor. see 11

U_S.Cl § 101(51|])_ ij No_ |Caorci*'iefiling under Chapter 11, but l am NOT a small business debtor according to the definition in the Bankruptcy
ij Yes_ l am filing under Chapter 11 and l am a small business debtor according to the definition iri the Bankruptcy Code.

 

meport if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

14. Do you own or have any - No
property that poses or is '
alleged to pose a threat El Yes.

 

of imminent and What is the hazard?
identifiable hazard to

public health or safety?

Or do you own any _ l i _
property that needs if immediate attention is
immediate attention? needed, why is it needed?

 

For example do you own

perishable goods or _

livestock that mustbe fed, Where is the property?
or a building that needs

urgent repairs?

 

Number, Street, City, State & Zip Code

 

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Case number rif known)

Debtor 1

Part 5:

15. Te|l the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one cf the following
choices lf you cannot dc
so, you are not eligible to
fi|e.

if you Hle anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paidl and your
creditors can begin
collection activities again.

  

William B. McNamara, Jr.

Expiain ‘(our Efforts to Recelve a Briefing About Credit Counse|ing

. §§

l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

 

..,,=.x_,

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency

l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have
a certificate of completion.

\Mthin 14 days after you file this bankruptcy
petition, you NlUST file a copy of the certificate and
payment plan, if any.

l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

TO ask for a 30-day temporary waiver of the
requirementl attach a separate sheet explaining
what efforts you made to,obtain the briefing, why
you were unable tc obtain it before you died for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court ls satisfied with your reasons you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

l am not required to receive a briefing about
credit counseling because of:

|:| lncapacity.
l have a mental illness or a mental deficiency
that makes me incapable cf realizing or
making rational decisions about hnances.

|'_`| Disability.
lilly physical disability causes me to be
unable to participate in a briefing in personl

by phone, or through the lnternet, even after l 3

reasonably tried to do so.

|:| Active duty.
l am currently on active military duty in a
military combat zone.

if you believe you are not required to receive a
brieth about credit counseling, you must fi|e` a
motion for{waiver credit counseling with the court.

 

l:i

W itrd-1 ar ..
you must check cne.'

Page 5 of 7

    

| received a briefing from an approved credit
counseling agency within the 180 days before l filed
this bankruptcy petition, and l received a certificate of
completion.

Attach a copy of the certificate and the payment pian, if
any, that you developed with the agency

l received a briefing from an approved credit
counseling agency within the 180 days before l filed
this bankruptcy petition, butl do not have a certificate
of completion.

Within 14 days after you tile this bankruptcy petition, you
l\ilUST file a copy of the certificate and payment plan, if
any,

l certify that l asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirementl

Tc ask for a 130-day temporary waiver ofthe requirementl
attach a separate sheet explaining what efforts you made
to obtain the briefingl why you were unable to obtain lt
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy `

if the court is satisfied with your reasons you must still
receive a briefing Within 30 days after you file. You must
tile a certificate from the approved agency, along with a
copy cf the payment plan you developed, if any. if you dc
not do so, your case may be dismissed

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days

lam not required to_receive a briefing about credit
counseling because of:

|:| lncapacity.
l have a mental illness cr a mental deficiency that
makes me incapable of realizing or making rational
decisions about financesl

|:| Disability.
lilly physical disability causes me to be unable to
participate in a briefing in person, by phonel or
through the internet, even after l reasonably tried to
dc so.

|:i Active duty.
l am currently on active military duty in a military
combat zone.

if you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court

 

 

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Voluntary Petition for individuals Filing for Bankruptcy

page 5

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Debtor 1

William B. McNamara_, Jr.

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Case number nrrmnwni

 

Answer These Questions for Reporting Purposes

 

-_-_M,A,What.kind~of_debts do11 ,,

you have?

, 16a-,, wAreeyourdebtsprimau'|y,corisumer.debts_?,,Consumer.debtsare.def`lned in 11 U.S.C. §.10.1.(8),as ‘fincurred.by ari_.....,.

individual primarily for a persona|, family, or household purpose."
El No. Go to line 16b.

- Yes_ Go to line 17_

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

l:l No. Go to line 16c.
l:l Yes Gc to line 17.

 

 

 

 

16c. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under EI No_ l am not filing under Chapter 7. Go tc line 18.
Chapter 7?
Do you estimate that - Yes l am nling under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt - ` are paid that funds will be available to distribute to unsecured creditors?
property is excluded and
administrative expenses - No
are paid that funds will
be available for l:l Yes
distribution to unsecured
creditors?
18- How many Credifors do l 1_49 lIl 1,000-5,000 El 25,001-50,000
§$;f;st'ma"e that V°“ i;i 50_99 El 5001-10,000 l`_'l 50,001-100,000
ij 100_199 El 10,001-25,000 El iviore inanioo,ooo
|.._.l 200-999
19- HOW much do you ij $0 - $50,000 l';l sr ,ooo,ooi - $io million |I.l $500,000,001 - s1 billion

estimate your assets to
be worth?

ij $50,001 - $100,000
l $100,001 - $500.000
ij $500,001 - $1 million

l:l $10,000,001 - $50 million
L'.l $50,000,001 - $100 million
l:l $100,000,001 - $500 million

m $1,000,000,001 - $10 billion
m $10,000,000,001 - $50 billion
l:l iiliore than 550 billion

 

20. How much do you
estimate your liabilities
to be?

El so - $50,000

iii $50,001-$100.000
l $100,001 - $500.000
i'_”l $500,001 - $1 million

ill s1 ,000,001 - $10 million

lIl $10,000,001 -$50 million
El $50,000,001 - $100 million
El $ioc.ccc,coi - $500 million

l:l $500,000,001 - $1 billion

l:l $1,000,000,001 - $10 billion
lIi $10,000,000,001 - $50 billion
l:| lll|ore than $50 billion

 

Sign B_e|ow

 

For you

l have examined this petition, and l declare under penalty of perjury that the information provided is true and correct

if | have chosen to filel under Chapter 7, l am aware that| may proceedl if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code, | understand the relief available under each chapter, and i choose to proceed under Chapter 7.

if no attorney represents m`e and | did not pay or agree to pay someone who is not an attorney to help me fill out this
document | have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief irl accordance with the chapter of title 11l United States Code, specified in this petition.

l understand making/a false statement concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 yearsl or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571_

M%/%yY//,

 

William B. McNamara, Jr. £/ Signature of Debtor 2
Signature of Debtor 1
Executed on January 24, 2019 Executed on

 

 

Nilll`ilDD/YYYY iViM/DDIYYYY

 

Off`lcia| Form 101

Voluntary Petition for individuals Filing for'Bankruptcy page 6

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Debtor1 William B_ N'|¢;Namara, Jr_ Case number (iri¢nown)
For your attorney, if you are l, the attorney for the debtcr(s) named in this petition, declare that i have informed the debtor(s) about eligibility to proceed
represented by one under Chapter 7, 11. 12. or 13 of title 11, United States Code, and have explained the relief available under each chapter

for which the person is eiigib|e. | also certify that l have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
lf you are not represented by and, in a case in which § 707(b)(4)(D) applies, certify that l have no knowledge after an inquiry that the information in the
an attorney, you do not need schedules filed wyhe petition is incorrect

to file this page. /
S' _ Date January 24, 2019
Signature of Attorney for Debtor l lVl|i.il l DD l VYYY

 

Scott M. Charmoy

Printed name

Chan'noy & Charmoy

Firrn name

1700 Post Road, Suite C-9
Fairfie|d, CT 06824-5726

t\lumberl Street, City, State & ZlP Code

 

coniooi pnone 203-255-8100 small address scottcharmoy@charmoy.com
15889 CT '

Bar numbar& State

 

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